  Case 19-18467        Doc 42    Filed 12/16/19 Entered 12/16/19 16:56:10              Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                          )    No. 19-18467
                                                )
AMERICAN PAIN SOCIETY,                          )    Chapter 7
                                                )
                       Debtor.                  )    Honorable Deborah Thorne
                                                )
                                                )
                                                )
                                                )


                              NOTICE OF AUCTION RESULTS
         Bidding Procedures Order: On November 7, 2019, the Court entered the Bidding

Procedures Order (the “Bidding Procedures Order”) (i) approving procedures for the sale (the

“Sale”) of the Estate’s right, title, and interest in The Journal of Pain (the “Purchased Assets”) to

the successful bidder (the “Successful Bidder”); (ii) scheduling an auction (the “Auction”); (iii)

approving the form and manner of notices associated with the Sale; and v) scheduling a final

hearing to consider approval of the Sale of the Purchased Assets.


         Auction Results: Please take notice that Michael S. Gold d/b/a The U.S. Association for

the Study of Pain was designated as the “Successful Bidder” at the Auction. A back-up bidder

was selected at the Auction, and that back-up bidder was North American Neuromodulation

Society. The purchase price is $145,000.00, payable in cash at closing.
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Dated: December 16, 2019               Respectfully submitted,


                                       MICHAEL K. DESMOND, not individually but
                                       solely in his capacity as Chapter 7 Trustee for
                                       the bankruptcy estate of AMERICAN PAIN
                                       SOCIETY,

                                       By:    /s/ Michael K. Desmond____
                                              One of his Attorneys


Michael K. Desmond (#6208809)
Justin M. Herzog (#6324047)
FIGLIULO & SILVERMAN, P.C.
10 S. LaSalle Street, Suite 3600
Chicago, Illinois 60603
Tel: (312) 251-4600
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In re:                                       )     No. 19-18467
                                             )
AMERICAN PAIN SOCIETY,                       )     Chapter 7
                                             )
                        Debtor.              )     Honorable Deborah Thorne
                                             )
                                             )
                                             )
                                             )


                                      NOTICE OF FILING


TO:      See attached Service List.

       PLEASE TAKE NOTICE that on December 17, 2019, MICHAEL K. DESMOND, not
individually but solely in his capacity as Chapter 7 Trustee for the bankruptcy estate of
AMERICAN PAIN SOCIETY, filed his Notice of Auction Results, a copy of which is attached.

Dated: December 17, 2019

                                            Respectfully Submitted,

                                            MICHAEL K. DESMOND, not individually but
                                            solely in his capacity as Chapter 7 Trustee for
                                            the bankruptcy estate of AMERICAN PAIN
                                            SOCIETY,

                                            By:    /s/ Michael K. Desmond____
                                                   One of his Attorneys


Michael K. Desmond (#6208809)
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                                 CERTIFICATE OF SERVICE

The undersigned attorney states that on December 17, 2019, a copy of the attached:

                                   NOTICE OF FILING
                                          and
                              NOTICE OF AUCTION RESULTS

will be served on all counsel listed below in accordance with the General Order on Electronic
Case Filing and subject to the provisions of Fed. R. Civ. P. 5(b)(3), the Notice of Electronic
Filing that is issued through the court's Electronic Case Filing System will constitute service
under Fed. R. Civ. P. 5(b)(2)(D) and Fed. R. Crim. P. 49(b) as to all Filing Users in a case
assigned to the court's Electronic Case Filing System.

                                                      By:     /s/ Michael K. Desmond


Mailing Information for Case 19-18467

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

      Steven B. Chaiken schaiken@ag-ltd.com
      Michael K Desmond mkd.trustee@fslegal.com, IL23@ecfcbis.com
      Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov

Manual Notice List – Via 1st Class Mail

American Pain Society
8735 West Higgins Road
Suite 300
Chicago, IL 60631
(Debtor)
